      Case 3:23-cv-10385-TKW-ZCB Document 20 Filed 06/09/23 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 PEN AMERICAN CENTER, INC.,
 et al.,

       Plaintiffs,

 v.                                            Case No. 3:23cv10385-TKW-ZCB

 ESCAMBIA COUNTY SCHOOL
 DISTRICT and ESCAMBIA
 COUNTY SCHOOL BOARD,

      Defendants.
_________________________________/

                                      ORDER

      This case is before the Court based on the motion for leave to appear pro hac

vice filed by attorney Kamera Boyd (Doc. 19). The Court finds based on the motion

and supporting documentation that Ms. Boyd meets the requirements of Local Rule

11.1 to appear pro hac vice. The Court also notes that the applicable fee has been

paid. Accordingly, it is

      ORDERED that the motion is GRANTED, and attorney Kamera Boyd is

authorized to appear pro hac vice for Plaintiffs.
Case 3:23-cv-10385-TKW-ZCB Document 20 Filed 06/09/23 Page 2 of 2




DONE and ORDERED this 9th day of June, 2023.




                             _________________________________
                             T. KENT WETHERELL, II
                             UNITED STATES DISTRICT JUDGE




                               2
